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  8
                                UNITED STATES DISTRICT COURT
  9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11     Brian Whitaker                            Case No.

 12               Plaintiff,
                                                  Complaint For Damages And
 13       v.                                      Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
 14     Grace Holmes, Inc., a Delaware            Act; Unruh Civil Rights Act
        Corporation
 15
                  Defendants.
 16
 17
            Plaintiff Brian Whitaker complains of Grace Holmes, Inc., a Delaware
 18
      Corporation, and alleges as follows:
 19
 20
        PARTIES:
 21
        1. Plaintiff is a California resident with physical disabilities. He is
 22
      substantially limited in his ability to walk. He suffers from a C-4 spinal cord
 23
      injury. He is a quadriplegic. He uses a wheelchair for mobility.
 24
        2. Defendant Grace Holmes, Inc. owned J.Crew located at or about 548
 25
      The Shops at Mission Viejo, Mission Viejo, California, in January 2021.
 26
        3. Defendant Grace Holmes, Inc. owns J.Crew (“Store”) located at or
 27
      about 548 The Shops at Mission Viejo, Mission Viejo, California, currently.
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  1     4. Plaintiff does not know the true names of Defendants, their business
  2   capacities, their ownership connection to the property and business, or their
  3   relative responsibilities in causing the access violations herein complained of,
  4   and alleges a joint venture and common enterprise by all such Defendants.
  5   Plaintiff is informed and believes that each of the Defendants herein is
  6   responsible in some capacity for the events herein alleged, or is a necessary
  7   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
  8   the true names, capacities, connections, and responsibilities of the Defendants
  9   are ascertained.
 10
 11     JURISDICTION & VENUE:
 12     5. The Court has subject matter jurisdiction over the action pursuant to 28
 13   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
 14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
 15     6. Pursuant to supplemental jurisdiction, an attendant and related cause
 16   of action, arising from the same nucleus of operative facts and arising out of
 17   the same transactions, is also brought under California’s Unruh Civil Rights
 18   Act, which act expressly incorporates the Americans with Disabilities Act.
 19     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 20   founded on the fact that the real property which is the subject of this action is
 21   located in this district and that Plaintiff's cause of action arose in this district.
 22
 23     FACTUAL ALLEGATIONS:
 24     8. Plaintiff went to the Store in January 2021 with the intention to avail
 25   himself of its goods and to assess the business for compliance with the
 26   disability access laws.
 27     9. The Store is a facility open to the public, a place of public
 28   accommodation, and a business establishment.


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  1     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
  2   to provide wheelchair accessible sales counters in conformance with the ADA
  3   Standards as it relates to wheelchair users like the plaintiff.
  4     11. The Store provides sales counters to its customers but fails to provide
  5   any wheelchair accessible sales counters.
  6     12. One problem that plaintiff encountered is that the sales counter was too
  7   high. While there were lowered portions of the counter, the point-of-sale
  8   equipment for use by customers, was fixed in place and was located at the
  9   higher counter. These machines did not reach the lower levels. As a result, the
 10   sales associate at the Store had to help plaintiff manipulate the machine so that
 11   plaintiff could check out.
 12     13. Plaintiff believes that there are other features of the sales counters that
 13   likely fail to comply with the ADA Standards and seeks to have fully compliant
 14   sales counters for wheelchair users.
 15     14. On information and belief, the defendants currently fail to provide
 16   wheelchair accessible sales counters.
 17     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
 18   personally encountered these barriers.
 19     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
 20   wheelchair accessible facilities. By failing to provide accessible facilities, the
 21   defendants denied the plaintiff full and equal access.
 22     17. The failure to provide accessible facilities created difficulty and
 23   discomfort for the Plaintiff.
 24     18. The defendants have failed to maintain in working and useable
 25   conditions those features required to provide ready access to persons with
 26   disabilities.
 27     19. The barriers identified above are easily removed without much
 28   difficulty or expense. They are the types of barriers identified by the


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  1   Department of Justice as presumably readily achievable to remove and, in fact,
  2   these barriers are readily achievable to remove. Moreover, there are numerous
  3   alternative accommodations that could be made to provide a greater level of
  4   access if complete removal were not achievable.
  5     20. Plaintiff will return to the Store to avail himself of its goods and to
  6   determine compliance with the disability access laws once it is represented to
  7   him that the Store and its facilities are accessible. Plaintiff is currently deterred
  8   from doing so because of his knowledge of the existing barriers and his
  9   uncertainty about the existence of yet other barriers on the site. If the barriers
 10   are not removed, the plaintiff will face unlawful and discriminatory barriers
 11   again.
 12     21. Given the obvious and blatant nature of the barriers and violations
 13   alleged herein, the plaintiff alleges, on information and belief, that there are
 14   other violations and barriers on the site that relate to his disability. Plaintiff will
 15   amend the complaint, to provide proper notice regarding the scope of this
 16   lawsuit, once he conducts a site inspection. However, please be on notice that
 17   the plaintiff seeks to have all barriers related to his disability remedied. See
 18   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
 19   encounters one barrier at a site, he can sue to have all barriers that relate to his
 20   disability removed regardless of whether he personally encountered them).
 21
 22   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
 23   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
 24   Defendants.) (42 U.S.C. section 12101, et seq.)
 25     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 26   again herein, the allegations contained in all prior paragraphs of this
 27   complaint.
 28     23. Under the ADA, it is an act of discrimination to fail to ensure that the


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  1   privileges, advantages, accommodations, facilities, goods and services of any
  2   place of public accommodation is offered on a full and equal basis by anyone
  3   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
  4   § 12182(a). Discrimination is defined, inter alia, as follows:
  5            a. A failure to make reasonable modifications in policies, practices,
  6               or procedures, when such modifications are necessary to afford
  7               goods,     services,   facilities,   privileges,     advantages,   or
  8               accommodations to individuals with disabilities, unless the
  9               accommodation would work a fundamental alteration of those
 10               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 11            b. A failure to remove architectural barriers where such removal is
 12               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 13               defined by reference to the ADA Standards.
 14            c. A failure to make alterations in such a manner that, to the
 15               maximum extent feasible, the altered portions of the facility are
 16               readily accessible to and usable by individuals with disabilities,
 17               including individuals who use wheelchairs or to ensure that, to the
 18               maximum extent feasible, the path of travel to the altered area and
 19               the bathrooms, telephones, and drinking fountains serving the
 20               altered area, are readily accessible to and usable by individuals
 21               with disabilities. 42 U.S.C. § 12183(a)(2).
 22     24. When a business provides facilities such as sales or transaction counters,
 23   it must provide accessible sales or transaction counters.
 24     25. Here, accessible sales or transaction counters have not been provided in
 25   conformance with the ADA Standards.
 26     26. The Safe Harbor provisions of the 2010 Standards are not applicable
 27   here because the conditions challenged in this lawsuit do not comply with the
 28   1991 Standards.


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  1      27. A public accommodation must maintain in operable working condition
  2   those features of its facilities and equipment that are required to be readily
  3   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
  4      28. Here, the failure to ensure that the accessible facilities were available
  5   and ready to be used by the plaintiff is a violation of the law.
  6
  7   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
  8   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
  9   Code § 51-53.)
 10      29. Plaintiff repleads and incorporates by reference, as if fully set forth
 11   again herein, the allegations contained in all prior paragraphs of this
 12   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 13   that persons with disabilities are entitled to full and equal accommodations,
 14   advantages, facilities, privileges, or services in all business establishment of
 15   every kind whatsoever within the jurisdiction of the State of California. Cal.
 16   Civ. Code §51(b).
 17      30. The Unruh Act provides that a violation of the ADA is a violation of the
 18   Unruh Act. Cal. Civ. Code, § 51(f).
 19      31. Defendants’ acts and omissions, as herein alleged, have violated the
 20   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 21   rights to full and equal use of the accommodations, advantages, facilities,
 22   privileges, or services offered.
 23      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 24   discomfort or embarrassment for the plaintiff, the defendants are also each
 25   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 26   (c).)
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  1          PRAYER:
  2          Wherefore, Plaintiff prays that this Court award damages and provide
  3   relief as follows:
  4       1. For injunctive relief, compelling Defendants to comply with the
  5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
  6   plaintiff is not invoking section 55 of the California Civil Code and is not
  7   seeking injunctive relief under the Disabled Persons Act at all.
  8       2. Damages under the Unruh Civil Rights Act, which provides for actual
  9   damages and a statutory minimum of $4,000 for each offense.
 10       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
 12
      Dated: January 25, 2021          CENTER FOR DISABILITY ACCESS
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 14
 15
                                       By: _______________________
 16
                                              Russell Handy, Esq.
 17                                           Attorney for plaintiff
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